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                                 #:14273




                           EXHIBIT

                            TAB 5-
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  TAB 5-B: TABLE OF COSTS OF COURT REPORTER APPEARANCE FEES


          Deponent                Deposition Date         Invoice            Reporter
                                                            No.           Attendance Fees
          Metz, Steven                8/6/2021            5187056                $250.00
          Han, Kyuhan                 8/9/2021            5190986                $685.00
          Kim, Indong                8/10/2021            5195011                $400.00
          Ji, Hyun-Ki                8/11/2021            5239649                $970.00
          Kim, Lane Kihoon           8/11/2021            5198534              $1,112.50
          Kim, Ho-Jung               8/12/2021            5201071              $1,160.00
          Yoo, Hyeok-Sang            8/12/2021            5201632              $1,160.00
          (Vol. 1)
          Yoo, Hyeok-Sang            8/13/2021            5201662                $922.50
          (Vol. 2)
          Knuth, Neal                8/14/2021            5203329                $800.00
          Jeon, Byung Yeop           8/15/2021            5204011                $875.00
          (Vol. 1)
          Jeon, Byung Yeop           8/17/2021            5210903                $922.50
          (Vol. 2)
          McAlexander, Joseph        9/14/2021            5265321                $125.00
          Kidder, Douglas            9/20/2021            5365325                $250.00
                                     Total:                                    $9,632.50


 The invoices attached in of this Tab 5-B are a subset of those attached to Tab 5-A, but are
 annotated to identify the specific fees constituting the court reporter’s charges for attendance.
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                                                 #:14275

        Veritext, LLC - California Region
        Tel. 877-955-3855 Email: calendar-la@veritext.com
        Fed. Tax ID: XX-XXXXXXX




        Bill To: Timothy P. Best Esq                                                                                         Invoice #:        5187056
                    Gibson Dunn & Crutcher LLP
                                                                                                                          Invoice Date:       8/10/2021
                    333 S Grand Ave, 47th Floor
                    Los Angeles, CA, 90071                                                                              Balance Due:          $4,554.80


        Case: Netlist, Inc. v. Samsung Electronic Co, Ltd, Et Al (8:20-cv-993-MCS
                                                                                                                           Proceeding Type: Depositions
        (ADSx))
        Job #: 4743983         |   Job Date: 8/6/2021 | Delivery: Daily                                       Matter #:                     66889-00003
        Location:                  Los Angeles, CA
        Billing Atty:              Timothy P. Best Esq
        Scheduling Atty:           Timothy P. Best Esq | Gibson Dunn & Crutcher LLP

        Witness: Steven Christopher Metz                                                                     Quantity              Price       Amount

                    Original with 1 Certified Transcript                                                      181.00               $5.25        $950.25

                    Transcript - Expedited                                                                    181.00               $5.25        $950.25

                    Exhibits                                                                                    73.00              $0.65         $47.45

                    Realtime Services                                                                         181.00               $1.85        $334.85

                    Rough Draft                                                                               181.00               $1.50        $271.50

                    Surcharge - Video Proceeding                                                              181.00               $0.50         $90.50

                    Litigation Package-Secure File Suite                                                         1.00             $55.00         $55.00

                    Production & Processing                                                                      1.00             $50.00         $50.00

                    Concierge Tech Support                                                                       6.00            $150.00        $900.00

                    Attendance (Full Day)                                                                        1.00            $250.00        $250.00

                    Electronic Delivery and Handling                                                             1.00             $35.00         $35.00

                                                                                                             Quantity              Price       Amount

                    Veritext Virtual Primary Participants                                                        1.00            $295.00        $295.00

                    Exhibit Share                                                                                1.00            $325.00        $325.00

        Notes:      Daily Expedite




                                        THIS INVOICE IS 30 DAYS PAST DUE, PLEASE REMIT - THANK YOU

         Please remit payment to:
         Veritext                                        To pay online, go to www.veritext.com
         P.O. Box 71303                                                                                                        Invoice #:       5187056
                                                                Veritext accepts all major credit cards
         Chicago IL 60694-1303                              (American Express, Mastercard, Visa, Discover)                 Invoice Date:       8/10/2021
42700    Fed. Tax ID: XX-XXXXXXX                                                                                           Balance Due:        $4,554.80
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Case 8:20-cv-00993-MCS-ADS Document 310-5 Filed 02/28/22 Page 5 of 17 Page ID
                                 #:14277
Case 8:20-cv-00993-MCS-ADS Document 310-5 Filed 02/28/22 Page 6 of 17 Page ID
                                 #:14278
                Case 8:20-cv-00993-MCS-ADS Document 310-5 Filed 02/28/22 Page 7 of 17 Page ID
                                                 #:14279

        Veritext, LLC - California Region
        Tel. 877-955-3855 Email: calendar-la@veritext.com
        Fed. Tax ID: XX-XXXXXXX




        Bill To: Jason C. Lo Esq                                                                                             Invoice #:        5198534
                    Gibson Dunn & Crutcher LLP
                                                                                                                          Invoice Date:       8/18/2021
                    1881 Page Mill Rd
                    Palo Alto, CA, 94304                                                                                Balance Due:          $5,346.90



        Case: Netlist Inc. v. Samsung Electronics Co., Ltd (8:20cv00993MCSDFM)                                             Proceeding Type: Depositions

        Job #: 4759204         |   Job Date: 8/11/2021 | Delivery: Daily                                      Matter #:                     66889-00003
        Location:                  Los Angeles, CA
        Billing Atty:              Jason C. Lo Esq
        Scheduling Atty:           Jason C. Lo Esq | Gibson Dunn & Crutcher LLP

        Witness: Lane Kihoon Kim                                                                             Quantity              Price       Amount

                    Original with 1 Certified Transcript                                                      150.00               $5.25        $787.50

                    Transcript - Expedited                                                                    150.00               $5.25        $787.50

                    Surcharge - Extended Hours                                                                   7.50             $95.00        $712.50

                    Exhibits                                                                                  176.00               $0.65        $114.40

                    Realtime Services                                                                         150.00               $1.85        $277.50

                    Rough Draft                                                                               150.00               $1.50        $225.00

                    Surcharge - Video Proceeding                                                              150.00               $0.50         $75.00

                    Litigation Package-Secure File Suite                                                         1.00             $55.00         $55.00

                    Production & Processing                                                                      1.00             $50.00         $50.00

                    Concierge Tech Support                                                                       7.75            $150.00      $1,162.50

                    Veritext Exhibit Package (ACE)                                                               1.00             $45.00         $45.00

                    Attendance (Full Day)                                                                        1.00            $250.00        $250.00

                    Surcharge - Interpreted Proceeding                                                           1.00            $150.00        $150.00

                    Electronic Delivery and Handling                                                             1.00             $35.00         $35.00

                                                                                                             Quantity              Price       Amount

                    Veritext Virtual Primary Participants                                                        1.00            $295.00        $295.00

                    Exhibit Share                                                                                1.00            $325.00        $325.00




         Please remit payment to:                                                                                              Invoice #:       5198534
         Veritext                                      To pay online, go to www.veritext.com                               Invoice Date:       8/18/2021
         P.O. Box 71303                                         Veritext accepts all major credit cards
         Chicago IL 60694-1303                                                                                             Balance Due:        $5,346.90
                                                            (American Express, Mastercard, Visa, Discover)
42700    Fed. Tax ID: XX-XXXXXXX
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                                 #:14282
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                                 #:14283
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                                 #:14284
Case 8:20-cv-00993-MCS-ADS Document 310-5 Filed 02/28/22 Page 13 of 17 Page ID
                                 #:14285
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                                 #:14287
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